           Case 2:20-cv-00359-GW-E Document 168 Filed 07/30/21 Page 1 of 7 Page ID #:14879



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                        Feit Electric Company, Inc.
                   15
                                               UNITED STATES DISTRICT COURT
                   16
                                          CENTRAL DISTRICT OF CALIFORNIA
                   17
                   18   NICHIA CORPORATION,                 CASE NO. 2:20-cv-00359-GW-E

                   19             Plaintiff,                Honorable George H. Wu, Ctrm. 9D
                                    v.                      Magistrate Charles F. Eick
                   20
                        FEIT ELECTRIC COMPANY,              DEFENDANT FEIT ELECTRIC
                   21   INC.,                               COMPANY, INC.’S
                   22                                       SUPPLEMENTAL MEMORANDUM
                                  Defendant.                IN SUPPORT OF ITS MOTION FOR
                   23                                       AN ORDER FOR THE ISSUANCE
                                                            OF LETTER ROGATORY
                   24
                   25                                       Date: August 13, 2021
                                                            Time: 9:30 a.m.
                   26                                       Courtroom 750, 255 East Temple St.
                                                            Los Angeles, CA 90012
                   27
                                                            Complaint filed January 13, 2020
                   28
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           Case 2:20-cv-00359-GW-E Document 168 Filed 07/30/21 Page 2 of 7 Page ID #:14880


                   1    I.      INTRODUCTION
                   2            Plaintiff Nichia Corporation (“Nichia”) has not shown good cause to warrant
                   3    denial of Defendant Feit Electric Company, Inc.’s (“Feit Electric”) Application for
                   4    the Issuance of Letter Rogatory (“Application”) for Mr. Yuichiro Tanda. Nichia’s
                   5    only basis to oppose is timing and the end of fact discovery. The Parties, however,
                   6    have agreed that Feit Electric may incorporate Tanda’s testimony in its case, even
                   7    if obtained after the close of discovery (Dkt. 158, n. 1), and Feit Electric’s
                   8    Application should accordingly be accepted on this basis alone. To the extent the
                   9    Court considers Nichia’s arguments in its Opposition, none of them have merit.
                   10   That is, Nichia’s arguments ignore the many impediments and obstacles that
                   11   prolonged the already incredibly arduous process of obtaining Tanda’s testimony,
                   12   such as: (1) the on-going pandemic; (2) the many obstacles to obtaining Tanda’s
                   13   testimony under Japanese law; and (3) Nichia’s own unclear and dilatory dealings
                   14   on this issue. Further, despite Nichia’s contrary assertions, Mr. Tanda’s testimony
                   15   is critical to Feit Electric’s defenses, not only with respect to non-infringement and
                   16   invalidity, but particularly regarding unenforceability based on the abandonment
                   17   and revival of a parent application to U.S. Patent No. 9,752,734 (“the ’734
                   18   Patent”). Feit Electric worked diligently to jump through the appropriate
                   19   procedural hoops to exhaust any other potentially simpler remedies before filing its
                   20   Application.
                   21   II.     ARGUMENT
                   22           A. Nichia’s Only Objection Is Moot, and for That Reason Alone, Feit
                   23           Electric’s Application Should Be Granted.
                   24           The parties recently filed a Joint Stipulation to Continue to Modify the Case
                   25   Schedule, in which Nichia agreed to extend fact discovery from August 20, 2021 to
                   26   October 6, 2021. Dkt. No. 158. The discussions leading up to that filing
                   27   specifically addressed Tanda’s testimony. Counsel for Feit Electric stated:
                   28           And, further agreement that the … Tanda testimony can be
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   NEWPORT BEACH             SUPP. MEMO ISO MOTION FOR LETTER ROGATORY OF MR. TANDA
                                                                            20-cv-00359
           Case 2:20-cv-00359-GW-E Document 168 Filed 07/30/21 Page 3 of 7 Page ID #:14881


                   1          incorporated into Feit Electric’s positions when obtained, regardless
                              of whether or not such testimony occurs after the close of fact
                   2
                              discovery.
                   3    (Kal K. Shah Declaration, Ex. A (7/23/2021 emails between K. Shah and R.
                   4    Parker)). To which Nichia’s counsel confirmed:
                   5          As you propose, if the court issues letters rogatory and you have the
                   6          opportunity to take Tanda’s deposition before the trial date, Nichia will
                              not object to the deposition on the ground that it was taken after the
                   7          close of fact discovery.
                   8    (Id.) Thus, it is clear that Nichia no longer disputes the timing of Feit Electric’s
                   9    Application, and thus Feit Electric’s Application should be granted.
                   10         B.   This Court Should Grant Feit Electric’s Application Because
                   11         Nichia Does not Oppose Feit Electric’s Application Per Se.
                   12         A party opposing the issuance of letters rogatory must show good cause for a
                   13   court to deny the application. See, e.g., Viasat, Inc. v. Space Sys., No. 12-cv-0260-
                   14   H, 2013 WL 12061801, at *3 (S.D. Cal. Jan. 14, 2013). Nichia does not oppose
                   15   Feit Electric’s principle effort to depose Tanda. Dkt. No. 140-1 at 12. Instead,
                   16   Nichia argues that Feit Electric’s Application should be denied to the extent it
                   17   would be the basis for any potential delay of interim deadlines or the trial schedule.
                   18   Id.
                   19         Indeed, courts in this district reject oppositions to letters rogatory requests
                   20   when based “only on the grounds that Issuance of the letters rogatory will result in
                   21   further delay.” Sundance Image Tech., Inc. v. Cone Eds. Press, Ltd., C.A. No. 02-
                   22   cv-2258 B (AJB), 2005 WL 8173275, at *2 (C.D. Cal. Jun. 24, 2005). In such
                   23   cases, the requests are granted because the mere allegation of hypothetical delay is
                   24   not a “‘good reason’ why such letter should not issue” and therefore the opposing
                   25   party “ha[s] not shown good cause why the Court should not grant Defendants
                   26   motion.” Id; see also Miller v. Holzmann, No. 95-1231 (RCL/JMF), 2006 WL
                   27   3093122, at *1 (D.D.C. Oct. 31, 2006) (“[I]t would be an abuse of discretion to
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S TRADLING Y OCCA
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      LAWYERS
   NEWPORT BEACH          SUPP. MEMO ISO MOTION FOR LETTER ROGATORY OF MR. TANDA
                                                                         20-cv-00359
           Case 2:20-cv-00359-GW-E Document 168 Filed 07/30/21 Page 4 of 7 Page ID #:14882


                   1    refuse to grant the defendants’ request because of a wild guess as to how long
                   2    something in a foreign country will take.”).
                   3          Indeed, consistent with the general policy that foreign governments should
                   4    be enlisted to help obtain discovery from non-parties only as a last resort, courts
                   5    regularly grant motions for international discovery late in discovery after
                   6    conducting party discovery. See, e.g., Miller, 2006 WL 3093122 (granting motion
                   7    for letter rogatory filed two weeks before the close of fact discovery); Liqwd, Inc.
                   8    v. L’Oreal USA, Inc., 17-14-JFB-SRF, 2018 WL 11189616 (D. Del. Nov. 16,
                   9    2018) (granting motion for letter rogatory filed ten months before trial); Tulip
                   10   Comps. Int’l B.V. v. Dell. Comp. Corp., 254 F. Supp. 2d 469, 474 (D. Del. 2003)
                   11   (granting motion for letters rogatory filed four months before trial).
                   12         Nichia has not demonstrated any viable reason for why this Court should
                   13   reject Feit Electric’s Application. Thus, this Court should grant Feit Electric’s
                   14   Application as Nichia does not per se oppose Feit Electric’s Application.
                   15   Sundance, 2005 WL 8173275.
                   16         C.     Nichia’s Assertion that Feit Electric Has Delayed in Seeking
                   17         Letters Rogatory Is Unsupported.
                   18         Feit Electric remains hopeful it can secure Tanda’s deposition testimony
                   19   prior to the fact discovery deadline. Indeed, Feit Electric has Japanese counsel
                   20   relationships it can promptly employ to assist in obtaining Tanda’s deposition
                   21   should this Court grant Feit Electric’s Application. Thus, Feit Electric believes that
                   22   even if an extension of the case would be necessary, it could be narrowly tailored
                   23   and extremely limited.
                   24         If the latter is the case, then Feit Electric may need to, and indeed would
                   25   expeditiously, notify the Court requesting such a narrowly tailored extension.
                   26   While an extension would hopefully be not likely, Feit Electric must correct
                   27   several of Nichia’s allegations that it somehow was not diligent in discovery as to
                   28   Mr. Tanda, as such a finding would have import into any future motion for a
S TRADLING Y OCCA
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   NEWPORT BEACH          SUPP. MEMO ISO MOTION FOR LETTER ROGATORY OF MR. TANDA
                                                                         20-cv-00359
           Case 2:20-cv-00359-GW-E Document 168 Filed 07/30/21 Page 5 of 7 Page ID #:14883


                   1    narrow and limited extension.
                   2          As an initial matter, courts in this circuit regularly extend discovery
                   3    deadlines when a litigant timely seeks international third party discovery through a
                   4    request for letters rogatory. See, e.g., Farstone Tech., Inc. v. Apple Inc., No. 8:13-
                   5    cv-1537-ODW(Ex), 2015 WL 12656268, at *1 (C.D. Cal. Jul. 31, 2015) (granting
                   6    issuance of letters rogatory and setting new discovery cutoff date three months
                   7    later); Crypto Asset Fund, LLC v. Opskins Grp., Inc., No. 19-cv-06983-CJC (JCx),
                   8    2020 WL 4557059, at *2 (C.D. Cal. Jan. 14, 2020) (granting request for letters
                   9    rogatory and, as a result, extending deadline 60 days to take deposition of foreign
                   10   national);   Min   Shian    Indus.   Co.   v.   Liquid   Metal   Motorsports,    Inc.,
                   11   819CV00233JLSKES, 2020 WL 2405274, at *4 (C.D. Cal. Jan. 31, 2020)
                   12   (considering “extending relevant case management deadlines” as an option if
                   13   letters rogatory process were to exceed the time remaining before discovery); Blue
                   14   Spike LLC v. Vizio, Inc., No. 8:17-cv-01172-DOC, 2018 WL 8646477, at *7 (C.D.
                   15   Cal. Aug. 31, 2018) (considering possibility of “extension of the discovery
                   16   deadline to conduct foreign discovery”); Al-Misehal Com. Grp. Ltd. v. Armored
                   17   Grp. LLC, No. 2:10-cv-01303-JWS, 2011 WL 2147599, at *2 (D. Ariz. Jun. 1,
                   18   2011) (extending discovery by half a year to accommodate for letters rogatory
                   19   process in response to a party’s request for an extension of time to execute a letter
                   20   rogatory to depose foreign national). There can be no dispute that the issuance of
                   21   letters rogatory is good cause for extending discovery. And, as Feit Electric
                   22   exhibited diligence in its discovery efforts, Nichia has no basis to oppose such a
                   23   request for an extension.
                   24         Nichia’s Opposition purports to set forth a timeline demonstrating how Feit
                   25   Electric allegedly delayed in seeking testimony from Tanda, on the purported basis
                   26   that Feit Electric “should have known” that Tanda was a third party. Dkt. No. 140-
                   27   1 at 15. But if Nichia’s timeline demonstrates anything, it is that Feit Electric was
                   28   reasonable and diligent every step of the way. Feit Electric filed its Application on
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      LAWYERS
   NEWPORT BEACH          SUPP. MEMO ISO MOTION FOR LETTER ROGATORY OF MR. TANDA
                                                                         20-cv-00359
           Case 2:20-cv-00359-GW-E Document 168 Filed 07/30/21 Page 6 of 7 Page ID #:14884


                   1    July 8, 2021, roughly two months after learning that Tanda was no longer under
                   2    Nichia’s control, including the month-long meet-and-confer process with Nichia.
                   3          Nichia originally identified Tanda as a witness with relevant knowledge in
                   4    its Initial Rule 26(a) Disclosures served on June 22, 2020, and further stated that
                   5    Tanda “is no longer employed by Nichia, but may be contacted through counsel.”
                   6    Dkt. No. 140-6 at 2 (emphasis added). On April 27, 2021, Feit Electric and
                   7    Nichia’s counsel engaged in negotiations regarding deposition dates for several
                   8    witnesses in this case. Dkt. No 140-7. Feit Electric informed Nichia that it
                   9    “intend[s] to depose Mr. Tanda.” Id. Nichia’s counsel responded that Tanda was
                   10   “no longer a Nichia employee or otherwise under Nichia’s authority,” but
                   11   confirmed that it was able to easily contact him when stating that “[h]e informs us
                   12   that he is not willing to travel to the United States for deposition.” Id. Until this
                   13   point, Feit Electric had no knowledge that Mr. Tanda was allegedly not under
                   14   Nichia’s control.
                   15         Upon learning this information, Feit Electric submitted an amended
                   16   deposition notice for Tanda on May 14, 2021. Dkt. Not. 140-10. Feit Electric
                   17   subsequently engaged in a month-long meet-and-confer process with Tanda’s
                   18   counsel. Dkt. No. 140-11. Indeed, Feit Electric offered to take Tanda’s deposition
                   19   in a myriad of convenient international locations or virtually — all of which Tanda
                   20   declined as of June 7, 2021. Id. Feit Electric’s diligent efforts proved unfruitful. At
                   21   this point Feit Electric evaluated its discovery options while simultaneously
                   22   deposing the other named inventor, Matsushita, on June 10, 2021. Feit Electric’s
                   23   hope was that Matsushita’s testimony would render unnecessary and redundant
                   24   Tanda’s testimony, such that Feit Electric need not seek it. See, e.g., Cover v.
                   25   Windsor Surry Co., C.A. No. 14-cv-05262-WHO, 2016 WL 8231158, at *3 (N.D.
                   26   Cal. Dec. 19, 2016). However, upon learning that Matsushita lacked the requisite
                   27   knowledge to specific key aspects underlying Feit Electric’s claims and defenses,
                   28   Feit Electric immediately proceeded to prepare and file its Application. Dkt. Nos.
S TRADLING Y OCCA
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   NEWPORT BEACH          SUPP. MEMO ISO MOTION FOR LETTER ROGATORY OF MR. TANDA
                                                                         20-cv-00359
           Case 2:20-cv-00359-GW-E Document 168 Filed 07/30/21 Page 7 of 7 Page ID #:14885


                   1    125 and 140.
                   2         For these reasons, Feit Electric respectfully requests this Court grant its
                   3    Motion.
                   4
                   5    DATED:     July 30, 2021     BENESCH, FRIEDLANDER, COPLAN &
                                                     ARONOFF LLP
                   6
                   7                                  By:   /s/ Kal K. Shah
                   8                                        Kal K. Shah
                   9                                        Simeon G. Papacostas
                                                            Katherine A. Smith
                   10
                   11   DATED:     July 30, 2021     STRADLING YOCCA CARLSON &
                                                     RAUTH A PROFESSIONAL CORPORATION
                   12
                   13                                 By:   /s/ Salil Bali

                   14                                       Salil Bali
                                                            Matthew R. Stephens
                   15
                   16                                       Attorneys for Defendant
                                                            Feit Electric Company, Inc.
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      LAWYERS
   NEWPORT BEACH         SUPP. MEMO ISO MOTION FOR LETTER ROGATORY OF MR. TANDA
                                                                        20-cv-00359
